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                              cox OIL COMPANY, INC
                                     623 PERKINS STREET, UNION CITY, TENNESSEE 38261

              UNITED STATES DISTRICT COURT                                                                 IN CLERK'S OFFICE
                                                                                                     U.S. DISTRICT COURT E.D.N.Y.
              EASTERN DISTRICT OF NEW YORK
                                                                                                      ir     MAY 0 9 2019        ^
              In re PAYMENT CARD INTERCHANGE                                                     BROOKLYN OFFICE
              FEE AND MERCHANT DISCOUNT                                        No. 05-MD-01720(MKB)(JO)
              ANTITRUST LITIGATION



                   STATEMENT OF OBJECTIONS OF CLASS MEMBER(Cox Oil Company. Inc.)

                      Cox Oil Company,Inc.(hereinafter"Company")accepted Visa and Mastercard transaction
              cards between 2004 and the present date. Company is a member ofthe Rule 23(b)(3) settlement
              class in this case, and it has not engaged in any other settlement of its claims against Visa and/or
              Mastercard. Company hereby submits its objections to the proposed settlement preliminarily
              approved by the Court in January ofthis year.

                      Company is located at Cox Oil Company, Inc., 623 Perkins Street, Union City, Tennessee
             38261. Company is a petroleum marketer engaged in the wholesale and retail sale of branded
             motor ftiels. Since 1976, it has accepted Visa and Mastercard transaction cards at retail service
             station and convenience store locations. Motor fuels at these locations have been sold under the
             BP, Shell, Marathon, and its own private (unbranded) brands since 2004, and the credit card
             transactions at each location were processed by the applicable branded supplier and by First Data
             and/or Worldpay at its unbranded sites.

                     Company is concerned that the Court will concur in the arguments of Defendants that
             certain major oil company branded suppliers are entitled to file claims against the settlement fund
             for transactions at retail locations where Company accepted the applicable Visa or Mastercard
             transaction cards and paid the interchange fees. Company understands that the Court has indicated
             that class counsel cannot represent both the branded suppliers and branded marketers, like
             Company, because only one of the two groups is entitled to settlement funds attributable to
             Company's retail locations. None of the class representatives were branded marketers, and
             branded marketer interests were not represented when the settlement was negotiated. Nor are they
             adequately represented now by a conflicted class counsel who are incapable of asserting branded
             marketer interests when they conflict with the interests of major oil companies.
                     As of now. Company is totally in the dark as to whether, having accepted the cards and
             paid the interchange fees, it is part ofthe settlement class, whether it is entitled to a full or partial
             recovery, or whether any mechanism is in place to sort all ofthis out. Nothing in the Class Notice
             states whether Company or its branded supplier(whose fuel Company sells) have a right to recover
             fi)r transactions at these locations. In short. Company is concerned that it is being deprived ofits
             legal right to fully participate in the settlement.              i.

                    In addition to not knowing what recovery Company may be entitled to as part ofthe class
             settlement, we do not believe that proper efforts are being made to notify branded marketers, like
             Company,so that they can object to the settlement. Company is aware that a Class Notice has gone

 LITTLE                                                                                                         623 PERKINS STREET
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GENERAL                                                                                                          OFFICE 731-885-6444
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   out but it wasnot mailed a copy by the Claims Administrator. The names and addresses ofbranded
   petroleum marketers, like Company, can be obtained by the Claims Administrator from the
   branded suppliers, while the names of unbranded suppliers, like Company, can be obtained from
   World Pay(RBS)and First Data.

          Branded marketers should be informed now whether a procedural mechanism will be put
   in place to determine whether, and to what extent, branded marketers will participate in the
   settlement, what evidence they need to present, and whether there will be procedural hurdles they
   need to overcome to claim their rights as class members. Unless and until these issues are
   addressed and properly resolved by the Court, Company respectfully objects to the class
   settlement.


                                               Respectfully submitted.

                                               Cox Oil Company, Inc.


                                               By: Mark McBride
                                               President-CEO
